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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THE CITY OF PHILADELPHIA,
                                                        Case No.:
                      Plaintiff,

     vs.

BANK OF AMERICA CORPORATION, BANK OF
AMERICA, N.A., BANC OF AMERICA                          CLASS ACTION COMPLAINT
SECURITIES LLC, MERRILL LYNCH, PIERCE,
FENNER & SMITH INCORPORATED, BARCLAYS
BANK PLC, BARCLAYS CAPITAL INC.,
CITIGROUP, INC., CITIBANK N.A., CITIGROUP               JURY TRIAL DEMANDED
GLOBAL MARKETS INC., CITIGROUP GLOBAL
MARKETS LIMITED, THE GOLDMAN SACHS
GROUP, INC., GOLDMAN SACHS & CO. LLC,
JPMORGAN CHASE & CO., JPMORGAN CHASE
BANK, N.A., J.P. MORGAN SECURITIES LLC,
THE ROYAL BANK OF CANADA, RBC CAPITAL
MARKETS LLC, WELLS FARGO & CO., WELLS
FARGO BANK, N.A., WACHOVIA BANK, N.A.,
WELLS FARGO FUNDS MANAGEMENT, LLC,
WELLS FARGO SECURITIES LLC,

                      Defendants.
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       Plaintiff The City of Philadelphia, individually and on behalf of all persons and entities

similarly situated, brings this class action under Section 1 of the Sherman Antitrust Act, Sections

4 and 16 of the Clayton Antitrust Act, and certain state laws, for actual damages, treble damages,

punitive damages, declaratory and injunctive relief, costs of suit, pre- and post-judgment interest,

and other relief, and alleges as follows:

                                  NATURE OF THE ACTION

       1.       This is an antitrust class action charging the Defendant banks with conspiring to

inflate the interest rates for a type of bonds often called “Variable Rate Demand Obligations” or

“VRDOs.”1 The City of Philadelphia (“Philadelphia” or “Plaintiff”) brings this action on behalf

of itself and a proposed Class of VRDO issuers—mainly state and local public entities such as

municipalities, agencies, public universities, and hospitals—to redress the harm inflicted by

Defendants, which likely amounts to billions of dollars class-wide.

       2.       VRDOs are tax-exempt bonds with interest rates that are reset on a periodic basis,

typically weekly. VDROs are issued by public entities to raise money to fund their operations,

as well as critically important infrastructure and public services, such as neighborhood schools,

water and wastewater systems, public power utilities, and transportation services. VRDOs are

also issued by public entities on behalf of tax-exempt 501(c)(3) organizations—including

schools, community organizations, and charities—which use the VRDOs to fund their operations

and projects.

       3.       VRDOs allow issuers to borrow money for long periods of time while paying

short-term interest rates. Investors find VRDOs attractive because the bonds include a built-in



       1
        Variable Rate Demand Obligations are also sometimes referred to as Variable Rate
Demand Notes (“VRDNs”).


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“put” feature that allows investors to redeem the bond at any periodic reset date, thus making

VRDOs a low-risk and high-liquidity investment.

       4.      To manage the bond, VRDO issuers contract with banks—like Defendants here—

to act as re-marketing agents (“RMAs”). RMAs have two primary jobs under the remarketing

agreements. First, on each reset date, RMAs are required to reset the interest rate of the VRDO

at the lowest possible rate that would permit the bonds to trade at par. For the vast majority of

VRDOs, the reset date occurs on a weekly basis, typically every Tuesday or Wednesday.

Second, when an existing investor exercises the “put” on the bonds and tenders the bond to

RMAs, RMAs are required to “remarket” the VRDO to other investors at the lowest possible rate.

For these ongoing services, issuers pay RMAs remarketing fees.

       5.      VRDO issuers are motivated to obtain the lowest interest rates for their debt. The

higher the rates that VRDO issuers pay, the more costly it is for them to finance their operations

and fund infrastructure projects. If an RMA cannot deliver low rates, issuers have the right to

replace that RMA with another one who can. Thus, in a properly functioning market, RMAs

would compete against each other for issuers’ business by actively working to set the best (i.e.,

the lowest) possible rate for their customers.

       6.      Defendants—which, collectively, served as RMAs for approximately 70% of all

VRDOs in the United States from 2008 through 2016—did not work to set the lowest possible

VRDO rates for Plaintiff and the Class, however.

       7.      Since about late 2015, various government authorities have been investigating

Defendants’ practices in the market for VRDO remarketing services, based on facts that were

first brought to their attention by a whistleblower. Among other things, the whistleblower

alleges that RMAs (including Defendants here) were not actively and individually marketing and




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pricing VRDOs at the lowest possible interest rates, but instead were setting artificially high

rates without regard to the individual characteristics of VRDOs, market conditions, or investor

demand. The whistleblower also alleges that RMAs (including Defendants here) were

improperly coordinating the rates they set for VRDOs. These allegations were based on the

whistleblower’s extensive analysis of data available to the whistleblower due to that person’s

role in the marketplace.

       8.      Starting in or about late 2015 and 2016, the whistleblower began to meet and

share data and the whistleblower’s analysis of data with federal authorities, including the

Antitrust Division of the U.S. Department of Justice (the “DOJ”). The DOJ subsequently opened

a preliminary criminal investigation into Defendants’ remarketing practices in connection with

VRDOs. That preliminary criminal investigation is ongoing.

       9.      Plaintiff counsel’s investigation of this matter has confirmed that there exists

evidence of direct communications between competing banks concerning VRDO rate-setting. In

these communications, senior personnel sitting within Defendants’ Municipal Securities Groups,

which housed the Short-Term Products desks on which Defendants ran their VRDO operations,

shared competitively sensitive information that was material to the setting and resetting of

VRDO rates.

       10.     As a result of Plaintiff counsel’s investigation, Plaintiff has further learned that, as

early as February 2008, Defendants were agreeing among themselves not to compete against

each other in the market for remarketing services, and instead to keep VRDO rates artificially

high, to the detriment of their customers, including Plaintiff here. Defendants conspired by

communicating with each other in person, via telephone, and through electronic communications.

In these inter-Defendant communications, they repeatedly shared highly sensitive information




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about the “base rates” that Defendants used to make initial determinations of the interest rates

they set for VRDOs as well as the levels of VRDO inventory Defendants held on their books.

       11.     Defendants’ overarching objective was to ensure that the cartel members would

keep VRDO rates artificially high in order to prevent investors from “putting” the bonds back to

Defendants. When investors tender VRDOs back to RMAs, it triggers the RMAs’ obligation to

remarket the VRDOs while also forcing the RMAs to carry the bonds in their inventory. By

keeping rates high, Defendants ensured that investors would not exercise their put options on the

bonds on a widespread basis. This allowed Defendants to continue to collect remarketing fees

for doing, essentially, nothing.

       12.     Economic analysis provides strong support for the existence of this conspiracy.

As detailed below, Plaintiff’s preliminary economic analysis demonstrates that VRDO interest

rates were artificially inflated for several years starting as early as 2008 and continuing until late

2015 to early 2016. This economic analysis also demonstrates the existence of several historical

patterns in VRDO rates that are each indicative of an agreement among Defendants not to

compete in the market for VRDO remarketing services that began to break up in late 2015 to

early 2016, around the same time that government authorities began investigating Defendants’

practices in the market for VRDO remarketing services.

       13.     Defendants’ conspiracy restrained competition in the market for VRDO

remarketing services and inflicted significant financial harm on Plaintiff and the Class. Plaintiff

and the Class paid billions of dollars in inflated interest rates during the Class Period due to

Defendants’ conspiracy. By artificially increasing the rates paid by Plaintiff and the Class,

Defendants’ conduct necessarily decreased the amount of funding available for critical public

projects and services, as well as the operations of 501(c)(3) organizations. At the same time,




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Defendants banked hundreds of millions of dollars in the form of remarketing fees charged for

services that Defendants never provided.

       14.     Free-market competition is, and has long been, the fundamental economic policy

of the United States. As the Supreme Court has explained, this policy is enshrined in the

Sherman Act,2 which makes it per se illegal for competitors (like Defendants here) to conspire

and coordinate with each other to limit competition. Defendants’ conspiracy offends the very

core of the antitrust laws. Defendants were supposed to be aggressively competing with each

other for the business of their customers, but they secretly conspired not to compete against each

other and instead to work together to keep rates high. Accordingly, Plaintiff brings this class

action to hold Defendants accountable for the injuries they have caused.

                                 JURISDICTION AND VENUE

       15.     Plaintiff brings this action under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§ 15 and 26, to recover treble damages and costs of suit, including reasonable attorneys’ fees,

against Defendants for the injuries to Plaintiff and the Class, alleged herein, arising from

Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       16.     The Court has subject matter jurisdiction over this action pursuant to Sections 4

and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26, as well as pursuant to 28 U.S.C. §§ 1331

and 1337(a).

       17.     Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a) and 22, as well as

pursuant to 28 U.S.C. § 1391(b), (c), and (d), because during the relevant period all the

       2
          See N. Pac. Ry. Co. v. U.S., 356 U.S. 1, 4 (1958) (“The Sherman Act was designed to
be a comprehensive charter of economic liberty aimed at preserving free and unfettered
competition as the rule of trade. It rests on the premise that the unrestrained interaction of
competitive forces will yield the best allocation of our economic resources, the lowest prices, the
highest quality and the greatest material progress, while at the same time providing an
environment conducive to the preservation of our democratic political and social institutions.”).


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Defendants resided, transacted business, were found, or had agents in this District; a substantial

part of the events or omissions giving rise to these claims occurred in this District; and a

substantial portion of the affected interstate trade and commerce discussed herein was carried out

in this District.

        18.         Defendants’ activities, and those of their co-conspirators, were within the flow of,

were intended to, and had a substantial effect on interstate commerce.

        19.         The Court has jurisdiction over Defendants pursuant to the nationwide contacts

test provided for by 15 U.S.C. § 22. Most Defendants are subject to personal jurisdiction in the

United States because they were formed in or have their principal places of business in the

United States. The other Defendants are members of the conspiracy and are subject to personal

jurisdiction in the United States because the conspiracy was directed at, carried out in substantial

part in, and had the intended effect of, causing injury to Plaintiff and class members residing in,

located in, or doing business throughout the United States.

        20.         Defendants are also subject to personal jurisdiction because each, either directly

or through its respective agents or affiliates, transacted business throughout the United States,

including in this District, that was directly related to the claims at issue in this action, including

by engaging in remarketing and resetting activities with members of the Class in this District.

                                              THE PARTIES

        A.          Plaintiff

        21.         The City of Philadelphia is a municipal corporation organized under the laws of

the Commonwealth of Pennsylvania, and is a political subdivision of the Commonwealth of

Pennsylvania. Philadelphia issued VRDOs whose rates were reset during the Class Period by

Defendants acting as remarketing agents for the bonds. Philadelphia was injured by the




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defendants’ unlawful conspiracy to inflate the interest rates for those bonds. The VRDOs issued

by Philadelphia, include the following:

         Bond                Par Amount              CUSIP              Remarketing Agent

General Obligation    $314 million             717813JG5              RBC Capital Markets
Multi-Modal Refunding                                                 LLC
Bonds, Series 2007B
                      $100 million             717813LJ6              Barclays Capital Inc.,
General Obligation                                                    RBC Capital Markets
Multi-Modal Refunding                                                 LLC, Wachovia Bank
Bonds, Series 2009B                                                   National Association,
                                                                      Wells Fargo & Co.
                          $179 million         717817LN8              J.P. Morgan Securities
                                                                      LLC
Airport Revenue           $82 million          717817RQ5              J.P. Morgan Securities
Refunding Bonds,                                                      LLC
Series 2005C              $81 million          717817RR3              J.P. Morgan Securities
                                                                      LLC, RBC Capital
                                                                      Markets LLC
                          $50 million          7178232M9              J.P. Morgan Securities
                                                                      LLC
                          $105 million         7178232P2              Wachovia Bank National
                                                                      Association, Wells Fargo
                                                                      Bank National
                                                                      Association
Gas Works Revenue         $50 million          7178232R8              Barclays Capital Inc.,
Refunding Bonds,                                                      Wachovia Bank National
Eighth Series                                                         Association, Wells Fargo
                                                                      Bank National
                                                                      Association
                          $50 million          7178232T4              Merrill Lynch Pierce
                                                                      Fenner and Smith Inc.,
                                                                      RBC Capital Markets,
                                                                      LLC
Gas Works Variable        $30 million          717823U48              J.P. Morgan Securities
Rate Demand Revenue                                                   LLC
Bonds, Fifth Series A-2
Water and Wastewater      $381 million         717893NP2              Citigroup Global Markets
Revenue Refunding                                                     Inc.
Bonds, Variable Rate
Series 2003
Water and Wastewater      $84 million          717893NW7              Banc of America
Revenue Refunding                                                     Securities LLC,
Bonds, Variable Rate                                                  Citigroup Global Markets


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Series 2005B                                                               Inc.

                            $84 million            717893TR2               Banc of America
                                                                           Securities LLC
Water and Wastewater        $70 million            717893TL5               Citigroup Global Markets
Revenue Bonds,                                                             Inc.
Variable Rate Series
1997B

        B.      Defendants

        22.     Whenever reference is made to any Defendant entity, such reference includes that

entity, its parent companies, subsidiaries, affiliates, predecessors, and successors. In addition,

whenever reference is made to any act, deed, or transaction of any entity, the allegation means

that the entity engaged in the act, deed, or transaction by or through its officers, directors, agents,

employees, or representatives while they were actively engaged in the management, direction,

control, or transaction of the entity’s business or affairs.

        23.     Bank of America. Defendant Bank of America Corporation is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in Charlotte, North Carolina. Bank of America Corporation is a multi-national banking

and financial services corporation with its investment banking division located in New York,

New York.

        24.     Defendant Bank of America, N.A. is a federally chartered national banking

association with its principal place of business in Charlotte, North Carolina, and is an indirect,

wholly owned subsidiary of Bank of America Corporation.

        25.     Banc of America Securities LLC was a Delaware limited liability corporation

with its principal place of business in New York, New York. On November 1, 2010, it merged

into Merrill Lynch, Pierce, Fenner & Smith Inc., with Merrill Lynch, Pierce, Fenner & Smith

Inc. as the surviving corporation.



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        26.     Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. is a corporation organized

under the laws of Delaware with its principal place of business in New York, New York, and is a

wholly owned subsidiary of Bank of America Corporation.

        27.     Defendants Bank of America Corporation, Bank of America, N.A., Merrill Lynch,

Pierce, Fenner & Smith Inc., Banc of America Securities LLC, and their subsidiaries and

affiliates are referenced collectively in this Complaint as “Bank of America.” During the Class

Period, Bank of America entered into VRDO remarketing agreements with Class members and

served as a letter of credit provider for Class members, including through its subsidiaries and

affiliates.

        28.     Barclays. Defendant Barclays Bank PLC is a corporation organized and existing

under the laws of England and Wales, with its principal place of business in London, England

and branch locations in New York, New York. Defendant Barclays Capital Inc. is a corporation

organized and existing under the laws of the State of Connecticut, with its principal place of

business in New York, New York.

        29.     Defendants Barclays Bank PLC and Barclays Capital Inc., and their subsidiaries

and affiliates, are referenced collectively in this Complaint as “Barclays.” During the Class

Period, Barclays entered into VRDO remarketing agreements with Class members and served as

a letter of credit provider for Class members, including through its subsidiaries and affiliates.

        30.     Citi. Defendant Citigroup Inc. (“Citigroup”) is a Delaware corporation with its

principal place of business in New York, New York.

        31.     Defendant Citibank N.A. (“Citibank”) is a federally chartered, national banking

association with its principal place of business in Sioux Falls, South Dakota, and is a subsidiary

of Citigroup.




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        32.     Defendant Citigroup Global Markets Inc. (“CGMI”) is a New York corporation

with its principal place of business in New York, New York. CGMI is an indirect, wholly owned

subsidiary of Citigroup.

        33.     Defendant Citigroup Global Markets Limited (“CGML”) is a U.K.-registered

private limited company with its principal place of business in London, United Kingdom.

CGML is an indirect, wholly owned subsidiary of Defendant Citigroup.

        34.     Defendants Citigroup, Citibank, CGMI, and CGML are collectively referred to as

“Citi” in this Complaint. During the Class Period, Citi entered into VRDO remarketing

agreements with Class members and served as a letter of credit provider for Class members,

including through its subsidiaries and affiliates.

        35.     Goldman Sachs. Defendant The Goldman Sachs Group, Inc. is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in New York, New York.

        36.     Defendant Goldman Sachs & Co. LLC is a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business in New York, New

York.

        37.     Defendants The Goldman Sachs Group, Inc. and Goldman Sachs & Co. LLC, and

their subsidiaries and affiliates, are referenced collectively in this Complaint as “Goldman Sachs.”

During the Class Period, Goldman Sachs entered into VRDO remarketing agreements with Class

members and served as a letter of credit provider for Class members, including through its

subsidiaries and affiliates.




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        38.     JPMorgan. Defendant JPMorgan Chase & Co. is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business in New

York, New York.

        39.     Defendant JPMorgan Chase Bank, N.A., a wholly owned subsidiary of JPMorgan

Chase & Co., is a federally chartered national banking association with its principal place of

business in New York, New York.

        40.     Defendant J.P. Morgan Securities LLC (formerly known as “J.P. Morgan

Securities Inc.”) is a limited liability company organized and existing under the laws of the State

of Delaware, with its principal place of business in New York, New York.

        41.     Defendants JPMorgan Chase & Co., JPMorgan Chase Bank, N.A., J.P. Morgan

Securities LLC, and their subsidiaries and affiliates, are referenced collectively in this Complaint

as “JPMorgan.” During the Class Period, JPMorgan entered into VRDO remarketing agreements

with Class members and served as a letter of credit provider for Class members, including

through its subsidiaries and affiliates.

        42.     RBC. Defendant The Royal Bank of Canada is a company organized and existing

under the laws of Canada with its principal place of business in Toronto, Canada. The Royal

Bank of Canada has substantial operations in the United States, including in New York. The

Royal Bank of Canada is a registered broker-dealer with the SEC, a Futures Commission

Merchant with the CFTC, registered with FINRA, and licensed by the New York Department of

Financial Services. The Royal Bank of Canada is also a registered foreign bank with the Federal

Reserve with assets of over $100 billion in the United States.




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       43.     RBC Capital Markets LLC (formerly known as RBC Capital Markets

Corporation) is a business segment of The Royal Bank of Canada incorporated in the United

States, with its principal place of business and headquarters located in New York, New York.

       44.     Defendants The Royal Bank of Canada and RBC Capital Markets LLC, and their

subsidiaries and affiliates, are referenced collectively in this Complaint as “RBC.” During the

Class Period, RBC entered into VRDO remarketing agreements with Class members and served

as a letter of credit provider for Class members, including through its subsidiaries and affiliates.

       45.     Wells Fargo. Defendant Wells Fargo & Co. is a company organized and existing

under the laws of the State of Delaware, with its principal place of business in San Francisco,

California.

       46.     Defendant Wells Fargo Bank, N.A. is a corporation organized and existing under

the laws of the State of Delaware, with its principal place of business in San Francisco,

California. Wells Fargo Bank, N.A. operates as a subsidiary of Wells Fargo & Co.

       47.     Defendant Wachovia Bank, N.A. was, from 2002 through 2008, a federally-

chartered bank with its principal place of business in Charlotte, North Carolina, and wholly-

owned by Wachovia Corporation, a publicly traded company listed on the New York Stock

Exchange. In October 2008, Wells Fargo & Co. agreed to acquire Wachovia Corporation, and in

March 2010, Wachovia Bank, N.A., merged with Wells Fargo Bank, N.A., making Wells Fargo

Bank, N.A., its successor by merger. As used herein, “Wachovia” includes Wells Fargo & Co.

and its successor by merger Wells Fargo Bank N.A.Defendant Wells Fargo Funds Management,

LLC, is a wholly owned subsidiary of Wells Fargo & Company, organized and existing under

the laws of the State of Delaware, with its principal place of business in San Francisco,

California.




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       48.     Defendant Wells Fargo Securities LLC is a limited liability company organized

and existing under the laws of Delaware, with its principal place of business in Charlotte, North

Carolina. Wells Fargo Securities LLC is an indirect wholly owned subsidiary of Defendant

Wells Fargo & Co.

       49.     Defendants Wells Fargo & Co., Wells Fargo Bank, N.A., Wachovia Bank, N.A.,

Wells Fargo Funds Management, LLC, and Wells Fargo Securities LLC are collectively referred

to as “Wells Fargo” in this Complaint. During the Class Period, Wells Fargo entered into VRDO

remarketing agreements with Class members and served as a letter of credit provider for Class

members, including through its subsidiaries and affiliates.

                                  FACTUAL ALLEGATIONS

I.     OVERVIEW OF THE VRDO MARKET

       50.     VRDOs are long-term securities with short-term interest rate periods. Interest

rates are reset periodically—typically on a weekly basis—by banks, called remarketing agents

(or “RMAs”), on behalf of the issuers of the securities. The primary issuers of VRDOs are state

and local public entities such as municipalities, agencies, public universities and hospitals.

VRDOs are also issued by public entities on behalf of tax-exempt 501(c)(3) organizations.

       51.     VRDOs are attractive to public entity issuers because they allow them to borrow

money for long periods of time, typically 20 to 30 years, while paying short-term interest rates.

Investors are willing to accept a short-term interest rate on these bonds due to the fact that they

include a “put” feature which grants the investor (i.e., the bondholder) the option, at each rate

reset, to receive the full amount of principal and accrued interest due on the bond by tendering it

back to the RMA. As interest paid on VRDOs is exempt from taxation, investors accept lower

yields on VRDOs compared to taxable debt instruments, such as corporate bonds. Public entities




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then use these borrowed funds to fund infrastructure, their operations, major projects, or to

refinance other debt.

       52.     VRDOs were first used as a source of municipal finance in the 1980s. In 2009,

the size of the VRDO market exceeded $400 billion par outstanding, with over 15,000 VRDOs

outstanding in the United States. Although the size of the market has declined in recent years,

VRDOs remain an extremely important form of public financing. As of December 2017, there

were approximately 5,000 VRDOs outstanding with a total of $150 billion in par value.

       53.     Aside from issuers, the key participants in the VRDO market are: (i) RMAs, who

are responsible for resetting the VRDO interest rate on a periodic basis and reselling VRDOs to

new investors; (ii) money market funds (“MMFs”), who are the primary investors in and holders

of outstanding VRDOs; and (iii) liquidity providers, who enhance the creditworthiness of an

issuer using letters of credit and standby bond purchase agreements. It is also quite common for

the same bank to act as both the RMA and liquidity provider for a particular VRDO.

       54.     RMAs. Issuers typically enter into remarketing agreements with RMAs. Under

the remarketing agreements, RMAs have two primary jobs for each particular VRDO they

manage: (i) to reset the VRDO interest rate—on a periodic basis (typically weekly)—at the

lowest possible rate that would permit the bonds to trade at par, and (ii) to resell the VRDOs to

other investors when an investor exercises the put feature by actively remarketing the VRDOs—

again, at the lowest possible rate that would permit the bonds to trade at par. These obligations

are set forth in the governing documents that dictate the relationship between an issuer and

remarketing agent as well as in marketing materials distributed by each remarketing agent.

       55.     Given the importance of the RMA’s role, issuers like Plaintiff typically paid

RMAs high annual fees that amounted to an average of 10 basis points of the VRDO debt




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balance during the Class Period. For example, if a VRDO has a debt balance of $100 million, an

issuer would pay the RMA an annual fee of approximately 0.1% of that amount, or

approximately $100,000 per year. Plaintiff only agreed to pay Defendants these large fees based

on Defendants’ representations, set forth in the VRDO transaction documents, that they would

actively remarket the VRDO in order to find the lowest possible rate at which they could place

the VRDO.

       56.     Defendants—which serve as RMAs for the vast majority of the VRDO market—

promote themselves to VRDO issuers as being the best RMAs given, among other factors, the

size of their investor networks.

       57.     For example, in marketing material presented by Defendant Bank of America to

the Commonwealth of Massachusetts, Bank of America touted its marketing abilities targeting

both “retail buyers” through its “wholly-owned retail distribution system,” as well as a marketing

“plan [that] will focus on accessing the broadest possible mix of institutional investors.” Also in

marketing materials presented to the Commonwealth of Massachusetts, Defendant Citi pitched

its remarketing advice related to helping identify the “most diverse group of investors possible,”

as well as helping the Commonwealth structure its commercial paper program, including

“strategic selection of [commercial paper] maturity dates.” Defendant JPMorgan told

Massachusetts it would follow a “five-step process” to ensure the lowest rates, including a

commitment to “analyze performance of the program and distribution of buyers.” Defendant

Wells Fargo explained that “having a client base to hold these [VRDO] positions provides

liquidity and affords us daily pricing information for your securities and market knowledge of

what maturities are attractive relative to other retail investment products.”




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       58.     Investors. VRDOs are primarily held by money market funds (“MMFs”), some

of which only invest in tax-exempt securities. An MMF is a type of mutual fund whose

objective is to earn interest for shareholders while maintaining a net asset value of $1 per share.

Institutional investors and individuals invest in MMFs in order to obtain a low-risk and highly

liquid, short-term investment offering variable interest payments.

       59.     MMFs favor VRDOs due in part to a “put” feature that allows the holder, at each

periodic reset date, typically weekly, to redeem the VRDO at face value (“par”) plus any accrued

interest. If the holder triggers the “put” feature, the holder tenders the VRDO back to the RMA,

which then has a period of time to remarket the bond to new investors. If the RMA cannot find a

new investor to purchase the bond, it will draw on a liquidity facility, such as a letter of credit or

standby bond purchase agreement, described below.

       60.     From an investor’s perspective, this “put” feature makes the VRDO a highly

liquid, short-term investment. The “put” feature not only ensures liquidity but also promises

repayment at par, which means the value of a VRDO remains stable.

       61.     Many of the largest investors of VRDOs were affiliates of the Defendants. For

example, Defendant JPMorgan manages at least five tax-free MMFs, with over $20 billion in

assets under management—including VRDOs. Defendant Wells Fargo manages 15 tax-free

MMFs with more than $17 billion in assets under management. Defendants Bank of America,

Goldman Sachs and RBC all tout their numerous tax-free MMFs, with many billions of dollars

under management for each Defendant, much invested in VRDOs. And Defendant Citibank has

partnered with non-party Invesco to market tax-free MMFs. These investors benefited from

higher interest rates on VRDOs at the expense of issuers like Plaintiff.




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       62.     Liquidity Providers. VRDOs are typically secured by letters of credit or standby

bond purchase agreements provided by highly rated commercial banks, such as Defendants. A

letter of credit typically provides an unconditional commitment by a bank to pay investors the

principal and interest owed on the VRDOs, even in the case of default, bankruptcy or downgrade

of the issuer. Thus, a bank acts as a “liquidity provider” by stepping in to make payments to the

VRDO holder if the issuer fails to do so. VRDOs are considered highly safe and liquid

investments due to this credit enhancement feature, which improves their perceived

creditworthiness and mitigates their default risk.

       63.     In providing letters of credit, liquidity providers also agree to purchase the VRDO

if the RMA is unable to find a new investor for the tendered securities.3 In many cases, the

RMA and the liquidity provider are one and the same for a given VRDO issuance. This creates

an additional dilemma for an RMA if an investor exercises the “put” feature and the RMA

cannot find a new investor. In that instance, the RMA (who is also acting as the liquidity

provider) is on the hook for the outstanding principle and interest payments due on the bond if

the issuer defaults. The RMA is also forced to carry the VRDO on its balance sheet. In

exchange for these services, issuers pay liquidity providers a fee ranging from approximately 50

to 150 basis points of the debt balance of the VRDO.




       3
           As an alternative to using a letter of credit, issuers sometimes use a standby bond
purchase agreement (“SBPA”) as a credit enhancement, in which a bank agrees to purchase
VRDOs tendered by investors. However, unlike a letter of credit, under an SBPA the bank does
not guarantee that the issuer will pay the principal and interest it owes on the VRDO. Instead,
the SBPA only provides that tendered securities will be purchased by the bank so long as the
SBPA remains in effect. Typically, an SBPA is used when the issuer has a strong credit rating or
it is coupled with bond insurance. See MSRB, Guidance on Disclosure and Other Sales Practice
Obligations to Individual and Other Retail Investors in Municipal Securities (July 14, 2009), at
http://www.msrb.org/Rules-and-Interpretations/MSRB-Rules/General/Rule-G-17.aspx?tab=2.


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II.    DEFENDANTS’ OBLIGATIONS TO ISSUERS

       64.     The RMA’s obligations can be found in three types of documents: remarketing

agreements, indentures, and official statements. The remarketing agreement is the contract

between the RMA and the issuer. In many instances, the obligations of the RMA are not set

forth in the remarketing agreement, but instead appear in the indenture and are incorporated in

the remarketing agreement. The indenture is a contract pursuant to which the actual bonds are

issued. Generally, the obligations regarding how a RMA is supposed to reset the rates for

VRDOs and remarket the bonds are specified within this document.

       65.     The official statement is the offering and disclosure material used to market the

bonds to investors. Although not a contract, the official statements are intended to reflect the

terms of the offering and also specify how the RMA is supposed to reset the rates for VRDOs

and remarket the bonds consistent with the remarketing agreement and indenture.

       66.     Regardless of which transaction document contains the actual obligations related

to resetting and remarketing the rates for VRDOs, the obligation to reset the rates for VRDOs

and remarket the bonds at the lowest possible rate is understood throughout the industry and

uniform across, if not identical amongst, Defendants.

       67.     A December 2007 remarketing agreement between Philadelphia and Defendant

RBC, for example, provides: “The Remarketing Agent shall perform the duties and obligations

of the Remarketing Agent with respect to the Bonds as contemplated by the Bond

Resolution. . . . On each optional tender[,] . . . the Remarketing Agent shall offer for sale and use

its best efforts to solicit purchasers for the tendered Bonds.”

       68.     Under the Bond Resolution, the RMA was required to do the following:

       Reset Obligation. “The interest rate for the Series 2007B Bonds in the Daily
       Mode or Weekly Mode shall be the rate of interest per annum determined by the
       Remarketing Agent on and as of the applicable Rate Determination Date as the


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       minimum rate of interest which, in the opinion of the Remarketing Agent under
       then-existing market conditions, would result in the sale of the Series 2007B
       Bonds in the Daily Rate Period or Weekly Rate Period, as applicable, at a price
       equal to the principal amount thereof, plus interest, if any, accrued through the
       Rate Determination Date during the then current Interest Accrual Period.”

       Remarketing Obligation. “The Remarketing Agent shall use its best efforts to
       offer for sale . . . all Series 2007B Bonds or portions thereof as to which a Tender
       Notice has been given . . . .”

       69.       The language regarding the reset and remarketing obligations of the RMA is

substantially similar in each remarketing agreement that Philadelphia entered into with

Defendants during the Class Period.

       70.       A remarketing agreement dated June 2012 between Western Municipal Water

District Facilities Authority and Defendant Merrill Lynch provides: “The Remarketing Agent

shall determine the interest rates on, and Interest Periods for, the Bonds in the manner and at the

times specified therefor in the Indenture,” and “[t]he Remarketing Agent shall use its best efforts

to remarket Bonds to be purchased as described in the Indenture.” The indenture itself requires

the following:

       Reset Obligation: “The interest rate for Daily Rate Bonds, Weekly Rate Bonds,
       Short-Term Rate Bonds and Long-Term Rate Bonds for each Interest Rate Period
       shall be determined by the Remarketing Agent as the lowest rate of interest that,
       in the judgment of the Remarketing Agent, will produce as nearly as practical a
       par bid for the Bonds as of the date of determination, taking into account
       Prevailing Market Conditions, provided that in no event will the interest rate on
       the Bonds exceed the Maximum Rate.”

       Remarketing Obligation: “Upon the receipt by the Remarketing Agent of (i)
       notice of tender of Daily Rate Bonds or Weekly Rate Bonds pursuant to Section
       3.06, or (ii) notice of mandatory tender of Bonds pursuant to Section 3.08, the
       Remarketing Agent shall offer for sale and use its best efforts to solicit purchases
       of the Bonds subject to purchase on the Purchase Date at a price equal to the
       Purchase Price.”

       71.       Similarly, a remarketing agreement dated March 2015 between Sacramento

Transportation Authority and Defendant Wells Fargo provides that “[t]he Remarketing Agent



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shall determine the interest rates on the Bonds in the manner and at the times specified therefor

in the Indenture . . . The Remarketing Agent shall use its best efforts to remarket Bonds to be

purchased as described in the Indenture . . . The Remarketing Agent shall perform such other

duties as are specifically set forth in this Agreement and the Indenture for the Remarketing

Agent.” Under the indenture, the RMA was required to do the following:

       Reset Obligation. “Each Weekly Rate shall be the rate of interest that, if borne
       by the Series 2015A Bonds in the Weekly Rate Period, would, in the reasonable
       judgment of the Remarketing Agent, having due regard for the prevailing
       financial market conditions for Tax-Exempt Securities that are of the same
       general nature as the Series 2015A Bonds for which the Weekly Rate is to be
       determined, or Tax-Exempt Securities that are competitive as to credit and
       maturity (or period for tender) with the credit and maturity (or period for tender)
       of the Series 2015A Bonds for which the Weekly Rate is to be determined, be the
       lowest interest rate that would enable the Remarketing Agent to place such Series
       2015A Bonds at a price equal to 100% of the aggregate principal amount of the
       Series 2015A Bonds (plus accrued interest, if any) on the first day of such Weekly
       Rate Period.”

       Remarketing Obligation. “The Remarketing Agent shall thereupon offer for sale
       and use its best efforts to find purchasers for such Weekly Put Bonds, other than
       2015A Liquidity Facility Bonds, which shall be remarketed pursuant to Section
       34.13.”

       72.     Official statements also set forth the same obligations. For example, in an official

statement issued in connection with an offering of Airport Revenue Refunding Bonds, Series

2005C, issued by Philadelphia, the following disclosures were made about JPMorgan’s

remarketing obligations:

       Reset Obligation. “Pursuant to the Remarketing Agreements, the Remarketing
       Agent is required to use its best efforts to determine the applicable rate of interest
       that, in its judgment, is the lowest rate that would permit the sale of the 2005C
       Bonds bearing interest at the applicable interest rate at par plus accrued interest, if
       any, on and as of the applicable rate determination date. The interest rate will
       reflect, among other factors, the level of market demand for the 2005C Bonds
       (including whether the Remarketing Agent is willing to purchase 2005C Bonds
       for its own account).”

       Remarketing Obligation. “The 2005C Bonds are being remarketed by the
       Remarketing Agent, pursuant to Remarketing Agreements, each dated December


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       23, 2011 (the “Remarketing Agreements”) between the City and the Remarketing
       Agent. Subject to certain conditions, upon delivery or deemed delivery of 2005C
       Bonds tendered for purchase by any owners thereof in accordance with the
       provisions of the 2005C Bonds and the Agreement, the Remarketing Agent will
       offer for sale and use its best efforts to remarket such tendered 2005C Bonds, any
       such remarketing to be made on the date such tendered 2005C Bonds are to be
       purchased, at a price equal to 100% of the principal amount thereof plus accrued
       interest, if any.”

       73.     Similarly, in an official statement issued in connection with an offering of

General Obligation Multi-Modal Refunding Bonds, Series 2009B, issued by Philadelphia, the

following disclosures were made about Wachovia’s remarketing obligations:

       Reset Obligation. “The interest rate for the 2009B Bonds in the Daily Mode or
       Weekly Mode shall be the rate of interest per annum determined by the
       Remarketing Agent on and as of the applicable Rate Determination Date (defined
       below) as the minimum rate of interest which, in the opinion of the Remarketing
       Agent under then-existing market conditions, would result in the sale of the
       2009B Bonds in the Daily Rate Period or Weekly Rate Period, as applicable, at a
       price equal to the principal amount thereof, plus interest, if any, accrued through
       the Rate Determination Date during the then current Interest Accrual Period.”

       Remarketing Obligation. “Upon receipt by the Remarketing Agent from the
       Tender Agent of notice of any optional tender of 2009B Bonds, as required under
       the Bond Committee Resolution, or if the 2009B Bonds become subject to
       mandatory purchase, the Remarketing Agent (subject to the provisions of the
       Bond Committee Resolution and the Remarketing Agreement) will use its best
       efforts to sell such Series 2007B Bonds, at a purchase price equal to the principal
       amount thereof plus accrued interest, if any, to the Purchase Date. Subject to the
       provisions of the Remarketing Agreement and the Bond Committee Resolution,
       the Remarketing Agent also will use its best efforts to sell any Bank Bonds, at a
       purchase price equal to the principal amount thereof plus accrued interest to the
       sale date.”

       74.     Further confirmation of RMAs’ obligations can be seen in the marketing materials

that Defendants provided to issuers to induce them to enter into remarketing agreements. In

these marketing materials, Defendants consistently touted their ability to devote their full

resources to actively remarket the bonds and obtain the lowest possible interest rates for issuers.

For example:




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                Defendant Bank of America represented that it would “achieve the lowest cost of
                 funds” for clients, and would use “the entire firm’s resources to use our best
                 efforts to successfully market and place” VRDOs.

                Defendant Citi represented that “Citi’s approach to remarketing the [VRDOs] will
                 be to secure the lowest possible interest rates[.]” Citi also represented that issuers
                 “would benefit from a firm who will actively market” the demand for VRDOs,
                 and promised that it would “strive to achieve” a diverse placement of VRDOs “by
                 carefully managing the program on each reset date.”

                Defendant JPMorgan represented that its “clients’ [VRDOs] will trade at the
                 lowest possible interest cost in the market,” and that it would “actively” remarket
                 the bonds.

                Defendant Wells Fargo represented that it “consistently outperform[s] the
                 competition and achieve[s] lower borrowing rates,” due to its “close relationships
                 with tier one, tier two, and tier three institutional investors.”

         75.     The obligations set out in transaction documents are all consistent with industry-

standard language prepared by the Securities Industry Financial Markets Association (“SIFMA”),

the self-described “the voice of the U.S. securities industry”4 that all the Defendants are members

of. The SIFMA model disclosures state that RMAs are “required” to reset interest rates at the

“lowest rate that permits the sale of the VRDOs at 100% of their principal amount (par) on the

interest reset date.”5 In other words, RMAs were obliged to set the interest rate at the lowest

possible rate at which VRDOs can be sold. As detailed below, however, Defendants did no such

thing.

III.     DEFENDANTS CONSPIRED NOT TO COMPETE AGAINST EACH OTHER IN
         THE MARKET FOR REMARKETING SERVICES

         76.     Since as early as February 2008, Defendants have conspired not to compete

against each other in the market for remarketing services. Pursuant to this conspiracy,

         4
             https://www.sifma.org/about/
         5
          See SIFMA Model Risk Disclosures Pursuant to MSRB Rule G-17 at 1 (RMA “is
required to set the interest rate at the rate necessary, in its judgment, as the lowest rate that
permits the sale of the VRDOs at 100% of their principal amount (par) on the interest reset
date.”) (emphasis added).


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Defendants worked together to keep interest rates on VRDOs artificially high, to benefit

themselves and the MMFs that were the predominant holders of VRDOs, and to the detriment of

VRDO issuers. Several of the largest MMFs in the world are managed by the Defendants.

According to Crane Data, Defendants JPMorgan, Goldman Sachs and Wells Fargo all manage

MMFs in the top 15 MMFs in terms of assets under management and, as noted above, the other

Defendants also either manage their own tax-free MMFs, or have partnered with third-party

managers. Such funds benefited by the inflated rates set by Defendant RMAs on VRDOs in their

portfolios, thereby directly benefiting Defendants and their affiliates as well.

       77.     During the Class Period, the key personnel on Defendants’ remarketing desks

included Jim Brewer (Bank of America), Ken Rogers (Bank of America), Dan Blankenship

(Bank of America), Patrick Boyer (Barclays), David Lo (Barclays), Rob Toscanini (Citi),

Cynthia Klein (Goldman), Peter McCarthy (JPMorgan), Craig Laraia (RBC), Julie Chavez

(Wells Fargo), and Laurie Mount (Wells Fargo). These and other VRDO personnel regularly

met face to face, including at industry events and through clubs, such as the Municipal Bond

Club of New York. Defendants’ coordination was easy to accomplish and to conceal given the

relatively small number of individuals at each bank that are directly involved in the market for

remarketing services. In fact, each Defendant generally employed between one and three

individuals that handled the relevant remarketing function on a day-to-day basis.

       78.     VRDO coordination meetings and communications also occurred among senior

personnel sitting within Defendants’ Municipal Securities Groups, which housed the Short Term

Products desks on which Defendants ran their VRDO operations. During the Class Period, these

personnel included Mona Payton (Bank of America), Robert Taylor (Barclays), Dan Bingham




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(Goldman), Kyle Pulling (JPMorgan), Chris Hamel (RBC), Todd Bleakney (Bank of America

and Wells Fargo), and Martin Bingham (Wells Fargo).

       79.     According to the former head of the VRDO desk at Defendant JPMorgan, due to

the failure and consolidation of banks during the 2008-2009 financial crisis, the “club” of the

most influential RMAs became smaller, and information was more concentrated. For that reason,

Defendants’ conspiracy as to VRDO rates took hold and flourished during the Class Period,

when it was easier to coordinate their efforts.

       80.     Through their investigation, Plaintiff counsel has learned that there exists

evidence of direct communications between personnel at competing banks, in which they shared

competitively sensitive information that was material to the setting and resetting of VRDO rates.

This included communications among senior personnel sitting within Defendants’ Municipal

Securities Groups, which housed the Short-Term Products desks on which Defendants ran their

VRDO operations.

       81.     In these illicit communications, Defendants conspired to inhibit competition on

rates, including by sharing with each other competitively sensitive information regarding their

inventory levels and base interest rates—that is, the baseline rates that applied across Defendants’

VRDOs and were ostensibly designed to account for prevailing macroeconomic factors

impacting VRDOs (as opposed to the individual characteristics of a specific VRDO that would

also impact the rates for that specific VRDO).

       82.     For example, Plaintiff has learned from a former managing director at Defendant

Citi that Defendants’ RMA staff would call each other on the phone prior to setting rates, and ask

“are you going high or are you going low.” According to former senior RMA personnel at

JPMorgan, it was a “dirty little secret” that RMAs would talk to each other about rates, and




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would ask other RMAs questions, like, “Are you placing this paper [referring to a particular

VRDO], and if so, what will be the rate?”

       83.     Rather than seek to obtain the lowest rates for each VRDO based on the VRDO’s

individual characteristics (such as the issuer and the letter of credit provider), Defendants shared

such information to collectively ensure the rates they set were at high enough levels to benefit all

Defendants. Absent this coordination, Defendants that set higher rates than their competitors

would be at risk of losing their clients to those competitors. As a former senior RMA at one

Defendant bank stated, “no one wants to stand out” when it comes to setting rates.

       84.     Defendants also discussed other commercially sensitive information beyond

VRDO rates in an effort to ensure that rates remained high enough to benefit all Defendants. For

example, by sharing proprietary information regarding their inventory levels, Defendants with

low inventory levels were able to set rates high enough to ensure that they did not undercut the

rates of Defendants with higher inventory levels (i.e., those most likely to offer higher rates in

order to reduce their inventory). According to a former senior RMA at one Defendant bank, one

RMA would “have a pretty good idea” of the rate resets of another RMA if you knew its

inventory.

       85.     There is no reason for Defendants at competing RMA banks to discuss VRDO

rates and other competitively sensitive information. Defendants knew what they were doing was

against the law, and they took steps to keep their conduct secret. For example, according to

former senior RMA personnel at Defendant JPMorgan, RMAs would talk to each other primarily

in-person or by telephone—and would try to specifically avoid using methods that would leave

an easily-searchable record, such as e-mail or Bloomberg messages.




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       86.     In addition to these direct communications, Defendants employed computerized

platforms that permitted the sharing of this information instantaneously and without direct

communication. A service called “Dalcomp,” which was acquired by Ipreo, helped RMAs

manage their VRDO programs. In marketing materials, Ipreo touted the platform’s ability to

share the inventory levels of individual RMAs. Systems like Dalcomp would allow Defendants

to perpetuate the coordination on many days even without telephone calls, by sharing their

inventory levels with the other Defendants, thereby telegraphing any moves in the base rate.

And with this information about base rates, all other rates could be easily inferred, and prevent

outliers from alerting anyone to the conspiracy.

       87.     Defendants also coordinated using third-party pricing services, such as J.J. Kenny

Drake Inc. Employees of these pricing services, including Joseph Luparello at JJ Kenny, would

call the RMAs and ask them, “Where are you going to be on your weekly high grades today?”

meaning VRDO rates. Each Defendant provided this information with knowledge that the other

Defendants were also doing so. After surveying the Defendants, these pricing services would

then call other RMAs to ask the same question, and following discussion with all of the RMAs,

would report to each Defendant what they had heard from the other Defendants and others. This

allowed Defendants to coordinate their rates and resets before printing the final rate and ensure

that no participant broke the agreement—even without speaking directly to each other.

       88.     Defendants’ agreement to refrain from competing on rates in this manner was

designed to maximize the likelihood that existing holders of VRDOs would not “put” their bonds

back to Defendants. Keeping VRDOs in the hands of existing holders allowed Defendants to

substantially avoid the obligations and risks triggered when investors exercise the “put” feature

of a VRDO and tender the bond to an RMA. When an investor tenders a VRDO to an RMA, the




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RMA is obligated to spend the time and resources to remarket the bond to new investors, and to

hold the tendered VRDO in inventory while it remarkets the bond.

       89.     In addition, when (as is often the case) the RMA is also the liquidity provider, and

the RMA fails to find a buyer for the tendered VRDO, the RMA is obligated to repurchase the

bond and assume the risk that the issuer will default on its payments. By keeping VRDO rates

artificially high, Defendants largely ensured that investors would continue to retain their VRDO

holdings, at greater cost to Plaintiff and the Class, even if there existed alternative investors

willing to purchase the same bonds at a lower interest rate.

       90.     As a former head of the VRDO desk at Defendant JPMorgan explained, RMAs

“would set the rate wherever they had to keep the paper off their balance sheet—and you could

understand them needing other banks to set the same rate otherwise the issuer would move their

business. It was a challenge for them to be fair.” And in those instances where a put was

exercised, Defendants were at least able to earn the higher interest rates generated by the

conspiracy while the VRDO remained on their books.

       91.     In the absence of their coordinated efforts, it would have been impossible for

Defendants to keep their rates high because the issuers—who are able to see the rates obtained

by other issuers—would push their RMAs to obtain the lowest rate possible, under threat of

switching to a different agent of similar size and resources. By ensuring that all Defendants—the

largest and most creditworthy RMAs in the market—“stayed in line,” the agreement ensured that

issuers would not know they could obtain lower rates from the other major RMAs. For most

issuers, only Defendants were acceptable RMAs due to their size, experience, and credit ratings.

For that reason, the existence of RMAs other than Defendants did not pose a realistic threat to

the conspiracy as long as Defendants in the cartel did not break ranks.




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        92.    Defendants went to great lengths to hide the conspiracy from the issuers. For

example, a former senior RMA at one Defendant acknowledged that RMAs would engage in

“window dressing,” by temporarily lowering rates on a single issuer in advance of a meeting or

making a pitch for more business. A former senior RMA at JPMorgan confirmed the practice,

also adding that when an RMA engaged in this “window dressing” practice, it would frequently

take those VRDOs back onto its own balance sheet to hide the lower rate in order “to not disrupt

the market.” This practice of “window dressing” shows that the RMAs could have obtained

lower rates for issuers, which was required by the remarketing agreements. And the practice of

hiding the low rates from the market shows that the Defendants knew that any failure to publicly

“stay in line” could endanger the conspiracy.

        93.    As a direct and proximate result of the conspiracy, Plaintiff and each Class

member was forced to pay artificially inflated interest rates for VRDOs they issued. At the same

time, Defendants continued to collect fees for remarketing services that were never received by

Plaintiff.

        94.    As noted, government authorities have been investigating Defendants’ practices in

the market for VRDO remarketing services since late 2015, based on facts that were brought to

authorities’ attention by a whistleblower.

        95.    In November 2015, the whistleblower filed a whistleblower complaint with the

Securities and Exchange Commission (the “SEC”), alleging, based primarily on the

whistleblower’s extensive analysis of data, that RMAs (including Defendants here) were

engaged in a scheme to defraud issuers by keeping VRDO rates artificially high despite RMA’s

obligation to do the opposite. Immediately thereafter, the SEC began investigating the industry

in response to the whistleblower’s allegations. In December 2015 and/or January 2016, the SEC




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contacted at least the following RMAs regarding their conduct in the VRDO market: JPMorgan,

Citi, Wells Fargo, and Bank of America.

       96.       The SEC proceeded to open a formal investigation, which remains active to this

date. In September 2018, the Bond Buyer reported that the SEC was conducting a “sweep” of

the major RMAs in the VRDO market, including Defendants.6 The SEC has sent Defendants

and other RMAs letters seeking information and documents regarding their remarketing and rate

resetting practices, in order to determine whether they have engaged in “fraudulent practices or

collusion in the resetting of VRDO or variable rate demand note rates.”7

       97.       In August 2016, the whistleblower met and shared the whistleblower’s data

analysis with the DOJ. The DOJ subsequently authorized an investigation into Defendants’

remarketing practices, and has made approximately 10 follow-up requests for data from the

whistleblower and interviewed numerous market participants. The DOJ continues to actively

pursue its investigation.

IV.    ECONOMIC ANALYSIS CONFIRMS THAT DEFENDANTS CONSPIRED TO
       INFLATE VRDO INTEREST RATES

       98.       As has been well-documented by Congressional testimony and academic

publications, “screens” are statistical tools based on economic models that use data such as

prices, bids, quotes, spreads, market shares, and volumes to identify the existence, causes, and

scope of conspiratorial behavior. For instance, “screens” were part of an analysis that led to the

discovery of the Libor rate-setting conspiracy that to date has cost the Libor-panel banks several

billion dollars in regulatory fines worldwide. In the context of Libor, journalists and economists


       6
           Lynn Hume, SEC conducting sweep of top 12 VRDO remarketers, THE BOND BUYER
(Sept. 6, 2018), https://www.bondbuyer.com/news/sec-conducting-sweep-of-top-12-vrdo-
remarketers.
       7
           Id.


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uncovered anomalous behavior in the benchmark as compared to movements in other publicly

available data points (data points that were independent of the banks’ purported individualized

judgment).8 Screens also led to the initial detection, in the summer of 2013, of the foreign

exchange conspiracy, which resulted in over $3 billion in settlements by banks in the United

States, the United Kingdom, and Switzerland in November 2014.9

       99.     Plaintiff used a series of statistical models and screens to analyze historical rates

data for the VRDO market. These analyses confirm the presence of collusive behavior in the

VRDO market over several years prior to late 2015 to early 2016. As shown below in greater

detail, these analyses confirm that Defendants’ rates were supracompetitive (i.e., significantly

higher than what they should have been) during this period.

       A.      Defendants’ VRDO Rates Were Substantially Inflated During the Class
               Period

       100.    Plaintiff analyzed whether VRDO rates were higher than they should have been in

a properly-functioning VRDO market. To do this, Plaintiff constructed a regression model that

is principally built on the data of Defendants’ actual VRDO rates from December 2015 to the

present—the “after” benchmark period after which Defendants’ collusive conduct became

known to regulatory authorities, a fact that likely caused Defendants’ collusion to cease—in

order to determine what VRDO rates should have been in the pre-December 2015 period “but for”

Defendants’ collusion.10


       8
            See generally Testimony of Rosa M. Abrantes-Metz on behalf of the Office of
Enforcement Staff, Federal Energy Regulatory Commission (Sept. 22, 2014), at
http://elibrary.ferc.gov/idmws/doc_info.asp?document_id=14274590.
       9
          See Liam Vaughan and Gavin Finch, Currency Spikes at 4 P.M. in London Provide
Rigging Clues, Bloomberg (Aug. 27, 2013), at http://www.bloomberg.com/news/2013-08-
27/currency-spikes-at-4-p-m-in-london-provide-rigging-clues.html.
       10
         To the extent Defendants’ collusion persisted to some degree during the post-
December 2015 benchmark period, that would make Plaintiffs’ analyses conservative as the


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        101.    To calculate these “but for” rates the model incorporates the ratio of Defendants’

VRDO rates to 7-day AA financial commercial paper. 7-day AA financial commercial paper is

the security most equivalent to VRDOs for two reasons. First, both are backed by financial

institutions, and the perceived credit risk of VRDOs is primarily a function of the credit risk of

the large financial institutions that provide the letters of credit that guarantee the liquidity of

VRDOs. Second, both are short-term in nature (i.e., 7-days). Given these core similarities,

before and after December 2015, the relationship between VRDO rates and 7-day AA financial

commercial paper should generally have remained the same absent collusion even across periods

of changing macroeconomic conditions. In absolute terms, VRDO rates should have remained

lower than commercial paper due to the VRDOs’ tax-free status.

        102.    To further increase the reliability of the results, the model also incorporates the

ratio of 1-year AAA corporate debt yields to 1-year AAA municipal debt yields. The

incorporation of this variable into the model helps account for the effect that non-collusive

changes in the market could have on the relationship between Defendants’ VRDO rates and 7-

day commercial paper rates over time, such as the relative demand for municipal debt securities

over time and perceived relative risk of default by the municipal issuers as compared to

corporate issuers.

        103.    Plaintiff then compared the resulting “but for” VRDO rates calculated by the

model to Defendants’ actual VRDO rates during the pre-December 2015 period (and beyond) to

assess whether Defendants’ actual rates were higher than they should have been. The results of

the model are summarized below in Figure 1, which compares Defendants’ “but for” rates to

Defendants’ actual rates, with a vertical line separating the “before” and “after” periods. The

benchmark period would be tainted by the conspiracy and reflect supracompetitive rates, causing
the model to predict higher “but for” rates during the pre-December 2015 period.


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“before” period begins in April 2009 because that is the earliest period for which Defendants’

rates data were available to Plaintiff. As Figure 1 shows, Defendants’ actual rates were

substantially inflated above Defendants’ “but-for” rates for the entire “before” period, by

statistically significant margins.

                                            Figure 111




        104.    Similarly, Figure 2 below is a simple bar chart comparing Defendants’ average

actual rates to Defendants’ average “but for” rates. The chart shows that, on average, Defendants’

rates during the collusive period were 27 basis points, or seven times, higher than they would

have been but for Defendants’ collusion. This gap is statistically significant.




        11
          To be clear, Defendants’ average but-for rates were never at zero during the period
measured in Figure 1.


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                                            Figure 2




       105.    The difference between the “but for” rates and the rates charged by Defendants

during the Class Period, depicted in Figures 1 and 2, strongly suggests that Defendants were

engaged in a conspiracy to inflate the rates they set for issuers—which conspiracy appears to

have ended when the regulators and criminal authorities began to investigate.

       B.      Defendants’ Collusion Had a Market-Wide Effect

       106.    Plaintiff also constructed a model to examine the extent to which Defendants’

artificially high rates could be seen across the entire VRDO market, as seen through the

Securities Industry Financial Markets Association (“SIFMA”) swap index, which tracks the

average interest rates for a broad range of highly-rated VRDOs reset on a weekly basis. Plaintiff

considered the entire VRDO market, which was the entire market for variable rate municipal

securities during the Class Period. There is no competing substitute for VRDOs in this market.

       107.    For this analysis, Plaintiff used historical SIFMA data from January 2000 through

July 2007 to estimate the model parameters. As in Plaintiff’s analysis of Defendants’ own




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borrowers, the default rate was only approximately 5 defaults per year during the Class Period.

This number is only slightly higher than the pre-Class Period, and cannot explain the level of

VRDO rates during the Class Period. Further, this market-wide default rate overstates the risk

for VRDOs themselves, which, in addition to the credit of the issuer, are backed by credit

support from financial institutions. In fact, Plaintiff is unaware of a single VRDO default during

the Class Period. Thus, there is no reason to believe that any change in VRDO default risk could

have caused the observed VRDO rate inflation.

       115.    Third, the quality of VRDO issuers did not change during the Class Period. To

the contrary, the average VRDO value outstanding actually increased during the Class Period,

indicating that larger, more creditworthy borrowers were not exiting the market. If the credit

quality of VRDO issuers changed during the Class Period, a decrease in average issuance size

would have been observed. Thus, a change in credit quality of issuers cannot explain the higher

level of VRDO rates during the Class Period.

       116.    Fourth, there was no excess supply of VRDOs during the Class Period that could

explain the inflated rates. The collapse of the auction rate securities market in 2008 led to an

increase in demand for VRDOs, and according to industry reports during the Class Period,

demand for VRDOs was strong. In June 2014, the Bond Buyer reported:

       Matt Fabian, a managing director at Municipal Market Advisors, said the
       continuous shrinking of the VRDO market is the result of a variety of factors.
       Investor demand for VRDOs remains very strong, Fabian said, but there isn’t
       enough supply to go around. “It is entirely a supply issue,” he said.12

Throughout the Class Period, investor demand for VRDOs remained high, and there is no

evidence that a decrease in demand could explain the Class Period inflation.

       12
           Kyle Glazier, MSRB Report: VRDO Market Down Five of Last Six Years, THE BOND
BUYER (June 18, 2014), http://www.bondbuyer.com/news/washington-securities-law/msrb-
report-vrdo-market-down-five-of-last-six-years-1063622-1.htm.


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       117.    Fifth, there was no material change in the quality of VRDO liquidity providers

during the Class Period that would explain the level of VRDO rates. VRDO liquidity providers

are primarily the large financial institutions that issue commercial paper. While financial

institution commercial paper rates—represented by the AA Financial CP index—did increase

briefly at the beginning of the Class Period—during the financial crisis—the ratio of financial

commercial paper rates to non-financial commercial paper rates returned to its historical average

by mid-2009, early in the Class Period. This relationship indicates that the market did not

perceive any increase in default risk for financial institutions, including those that provided

liquidity backstops for VRDOs. Thus, the rate inflation during the Class Period cannot be

explained by a change in the market perception of liquidity provider risk.

       118.    In sum, there is no legitimate, market-based explanation for the inflated VRDO

rates that Plaintiff’s statistical analysis has identified. Only collusion can explain the inflation.

       C.      VRDO Rates Show Significant “Clustering” During the Class Period

       119.    Plaintiff’s analysis has identified additional evidence of Defendants’ agreement

not to compete. During the period of Defendants’ collusion, rates of VRDOs marketed by

Defendants exhibited a high degree of “clustering,” in which VRDO bonds with different

characteristics cluster together at the exact same interest rates or rate changes. These clustering

patterns diminish significantly in early 2016, consistent with a break in Defendants’ conspiracy

after regulatory authorities were first made aware of Defendants’ conduct with respect to

VRDOs.

       120.    For this analysis, Plaintiff examined all 7-day rates for all VRDOs remarketed by

Defendants from April 2009 through the present. This analysis included VRDOs with rates that

reset on Tuesdays and VRDOs with rates that reset on Wednesdays. For each week, Plaintiff

identified the number of bonds clustered together with exact matches in (i) interest rate levels or


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(ii) week-over-week interest rate changes. In each case, Plaintiff identified persistent clustering

that abated beginning in early 2016.

       121.    Figures 6-8, below, show the clustering patterns in absolute interest rate levels

among VRDO bonds resetting on Wednesdays.


                                             Figure 6




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                                          Figure 7




                                          Figure 8




      122.   Figures 9-11, below, show the clustering patterns in in absolute interest rate

levels among VRDO bonds resetting on Tuesdays.




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                             Figure 9




                            Figure 10




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                                        Figure 11




      123.   Figures 12-14, below, show the clustering patterns in week-over-week interest

rate changes among VRDO bonds resetting on Wednesdays.


                                        Figure 12




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                                        Figure 13




                                        Figure 14




      124.   Figures 15-17, below, show the clustering patterns in week-over-week interest

rate changes among VRDO bonds resetting on Tuesdays.




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                            Figure 15




                            Figure 16




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                                             Figure 17




       125.    As shown in Figures 11 through 17, Defendants’ VRDO rates exhibited

significant levels of clustering beginning at least as early as April 2009 until early 2016, when

the clustering abruptly abated. These patterns all suggest a long-running agreement among

Defendants not to compete with each other in the setting of VRDO rates, which agreement broke

only after regulatory authorities were alerted to Defendants’ conduct with respect to VRDOs.

The clustering demonstrates the high degree to which Defendants’ rates and resets for divergent

VRDOs moved in unison, pursuant to their agreement not to compete. The abrupt break in

clustering at the end of the Class Period suggests that the clustering was driven by the conspiracy.

V.     DEFENDANTS BREACHED THEIR CONTRACTUAL OBLIGATIONS TO
       PLAINTIFF AND THE CLASS

       126.    Defendants also breached their obligations under their remarketing agreements

with Plaintiff and the Class.

       127.    Under these agreements, Defendants were required to actively remarket VRDOs

to achieve the lowest rate of interest for which there were buyers in the market. As discussed



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above, Defendants regularly represented to issuers that they would devote their full resources to

make these determinations and place the bonds at the lowest possible interest rate.

          128.   Defendants have not complied with the requirements of the remarketing

agreements. Rather than setting VRDO rates and actively remarketing them with the purpose of

finding the lowest possible interest rate, Defendants relied on their conspiracy to keep interest

rates on VRDOs artificially high, for the purpose of preventing the widespread exercise investors’

“put” rights so that Defendants could to continue to collect remarketing fees for effectively

doing nothing.

          129.   Even in the absence of collusion, Plaintiff’s analysis makes clear that Defendants

have not complied with their obligations under the remarketing agreements. As demonstrated

above, for the duration of the Class Period, Defendants’ VRDO rates were significantly inflated

above levels that would have been justified by market conditions and the characteristics of the

bonds. Defendants were required to use their judgment to reset and remarket VRDOs to obtain

the lowest possible rate, and no exercise of “judgment” would justify the artificial inflation of

interest rates charged to issuers.

VI.       DEFENDANTS’ CONSPIRACY INJURED PLAINTIFF AND THE CLASS

          130.   Defendants’ conspiracy inflicted severe financial harm on Plaintiff and the Class

and restrained competition in the market for remarketing services.

          131.   As a direct result of their conspiracy, Defendants inflated their own profits for

remarketing services they never provided while setting supracompetitive rates for VRDOs to

Plaintiff and the Class. Defendants injured each Class member through a common scheme

resulting in hundreds of millions and potentially billions of dollars in damages.

          132.   The conspiracy alleged herein had and is having the following effects, among

others:


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               (a)     The VRDO interest rates paid by Plaintiff and the Class have been fixed or

stabilized at supra-competitive levels;

               (b)     Plaintiff and the Class have been deprived of the benefits of free, open,

and unrestricted competition in the market for VRDO remarketing service;

               (c)     Competition in establishing interest rates paid in the United States by

VRDO issuers has been unlawfully restrained, suppressed, and eliminated; and

               (d)     Plaintiff has incurred and will incur expenses related to the inflated rates,

including but not limited to inflated letter of credit fees, accounting fees, and expenses related to

disclosures.

       133.    By reason of the violations of Section 1 of the Sherman Act alleged in this

Complaint, Plaintiff and the members of the Class have sustained injury to their business or

property. The injuries sustained by Plaintiff and the Class are the payment of supra-competitive

interest rates for VRDOs as a result of Defendants’ conspiracy to restrain trade as alleged. This

is an antitrust injury of the type that the antitrust laws were meant to punish and prevent.

VII.   EQUITABLE TOLLING DUE TO DEFENDANTS’ CONCEALMENT

       134.    Defendants actively and effectively concealed their collusion, as alleged herein,

from Plaintiff and the Class. As a result of Defendants’ fraudulent concealment, all applicable

statutes of limitations affecting Plaintiff’s and the Class’ claims have been tolled.

       135.    Defendants’ conspiracy is self-concealing by its very nature. As explained above,

Defendants knew they had to keep it secret in order for it to succeed. The conspiratorial

communications thus occur among only a small group of RMA employees. These discussions

occur primarily over the telephone and at industry events that are not open to the public. Even at

such events, RMA employees are wary of discussing their business with outsiders, and ask

questions such as whether they are “being recorded” before engaging in such conversations.


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       136.    Defendants also actively concealed their conspiracy by making statements

intended to misdirect issuers such as Plaintiff. For example, Defendant Wells Fargo published a

“primer on variable-rate demand notes” which states that their “reset feature ensures that VRDN

yields reflect the current interest-rate environment.”13 In fact, as Well Fargo knows, VRDO rates

were artificially inflated through Defendants’ agreement not to compete, irrespective of the

current “interest-rate environment” and other market realities.

       137.    Defendants also provided Class members with “certificates of non-collusion” in

connection with their bids to provide remarketing services, in which Defendants stated that their

proposals—including their representations and assurances that they would actively remarket

VRDOs at the lowest possible rate—were submitted “in good faith and without collusion or

fraud with any other person.” In fact, Defendants were actively working together to artificially

inflate VRDO rates.

       138.    Plaintiff was only able to uncover Defendants’ conspiracy through an extensive

investigation commencing in the middle of 2016 that involved, among other things: (i)

interviewing numerous industry insiders; and (ii) an extensive and expensive analysis of VRDO

data over several years that required a full team of experts to yield the information contained in

this Complaint. Municipalities and other VRDO issuers simply do not have the financial or

logistical resources to undertake a comparable investigation, have never done so, and would

remain in the dark regarding Defendants’ conspiracy if not for Plaintiff’s efforts.

       139.    Nonetheless, Plaintiff has engaged in reasonable due diligence under the

circumstances. For example, Plaintiff, either directly or through outside advisers it hired,

regularly monitored its VRDOs and conducted due diligence to try to avoid being harmed by

       13
          A primer on variable-rate demand notes, Wells Fargo (2017),
https://www.wellsfargofunds.com/assets/pdf/fmg/icm/primer_vrdns.pdf.


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financial misconduct throughout the Class Period. Through these efforts, Plaintiff endeavored to

obtain the best rates on its VRDOs.

       140.    Because of Defendants’ concealment, any applicable statute of limitations

affecting or limiting the rights of action by Plaintiff or members of the Class have been tolled

during the period of concealment.

VIII. CLASS ACTION ALLEGATIONS

       141.    Plaintiff, on behalf of itself and those similarly situated, seeks damages against

Defendants based on the allegations contained herein.

       142.    Plaintiff brings this action on behalf of itself and as a class action under Rules

23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, seeking monetary damages on

behalf of the following class (the “Class”):

       All persons and entities who (whether as issuers or obligors) paid interest
       expenses on VRDOs that had interest rates reset pursuant to remarketing
       agreements with Defendants from February 1, 2008 through June 30, 2016 (the
       “Class Period”). Excluded from the Class are Defendants and their employees,
       affiliates, parents, subsidiaries, and co-conspirators, whether or not named in this
       Complaint, and the United States government.

       143.    Numerosity. Members of the Class are so numerous that joinder is impracticable.

Plaintiff does not know the exact size of the Class, but believes that there are thousands of Class

members geographically dispersed throughout the United States.

       144.    Typicality. Plaintiff’s claims are typical of the claims of the members of the Class.

Plaintiff and all members of the Class were damaged by the same wrongful conduct of

Defendants. Specifically, Defendants’ wrongdoing caused Plaintiff and members of the Class to

pay inflated interest rates for VRDOs that they issued. Plaintiff and members of the Class also

paid remarketing fees to Defendants for doing, essentially, nothing.




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         145.   Plaintiff will fairly and adequately protect and represent the interests of the Class.

The interests of Plaintiff are coincident with, and not antagonistic to, those of the Class.

Accordingly, by proving its own claims, Plaintiff will prove other Class members’ claims as well.

         146.   Adequacy of Representation. Plaintiff is represented by counsel who are

experienced and competent in the prosecution of class action antitrust litigation. Plaintiff and its

counsel have the necessary financial resources to adequately and vigorously litigate this class

action. Plaintiff can and will fairly and adequately represent the interests of the Class and have

no interests that are adverse to, conflict with, or are antagonistic to the interests of the Class.

         147.   Commonality. There are questions of law and fact common to the Class that

relate to the existence of the conspiracy alleged, and the type and common pattern of injury

sustained as a result thereof, including, but not limited to:

                (a)     whether Defendants and their co-conspirators engaged in a combination or

conspiracy to fix, raise, maintain, stabilize, and/or otherwise manipulate VRDO interest rates in

violation of the Sherman Act;

                (b)     the identity of the participants in the conspiracy;

                (c)     the duration of the conspiracy;

                (d)     the nature and character of the acts performed by Defendants and their co-

conspirators in furtherance of the conspiracy;

                (e)     whether the conduct of Defendants and their co-conspirators, as alleged in

this Complaint, caused injury to the business and property of Plaintiff and other members of the

Class;

                (f)     whether Defendants and their co-conspirators fraudulently concealed the

conspiracy’s existence from the Plaintiff and the members of the Class;




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               (g)      whether Defendants have acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive relief or corresponding

declaratory relief with respect to the Class as a whole;

               (h)      the appropriate injunctive and equitable relief for the Class;

               (i)      whether Defendants were unjustly enriched at the expense of Plaintiff and

the Class;

               (j)      whether Defendants breached their contracts with the Class;

               (k)      the appropriate measure of damages sustained by Plaintiff and other

members of the Class.

       148.    Predominance. During the Class Period, Plaintiff entered into remarketing

agreements with Defendants containing materially similar obligations, and its interests are

coincident with and not antagonistic to those of the other members of the Class. Questions of

law and fact common to the members of the Class predominate over questions that may affect

only individual Class members because Defendants have acted on grounds generally applicable

to the entire Class, thereby making a common methodology for determining class damages as a

whole appropriate. Such generally applicable conduct is inherent in Defendants’ wrongful

conduct.

       149.    Superiority. Class action treatment is a superior method for the fair and efficient

adjudication of the controversy. Such treatment will permit a large number of similarly situated,

geographically dispersed persons or entities to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

expense that numerous individual actions would engender. The benefits of proceeding through

the class mechanism, including providing injured persons or entities a method for obtaining




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redress on claims that could not practicably be pursued individually, substantially outweighs

potential difficulties in management of this class action. The Class has a high degree of cohesion,

and prosecution of the action through representatives would be unobjectionable.

        150.    Plaintiff knows of no special difficulty to be encountered in the maintenance of

this action that would preclude its maintenance as a class action.

                                     CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF

            (Conspiracy to Restrain Trade in Violation of §1 of the Sherman Act)

        151.    Plaintiff hereby incorporates each preceding and succeeding paragraph as though

fully set forth herein.

        152.    Defendants and their unnamed co-conspirators entered into and engaged in a

combination and conspiracy in an unreasonable and unlawful restraint of trade in violation of §1

of the Sherman Act, 15 U.S.C. §1, et seq.

        153.    As a direct, material, and proximate result of Defendants’ violation of §1 of the

Sherman Act, Plaintiff and members of the Class have suffered injury to their business and

property, within the meaning of §4 of the Clayton Act, throughout the Class Period.

        154.    Plaintiff and members of the Class are entitled to treble damages for Defendants’

violations of §1 of the Sherman Act under §4 of the Clayton Act.

        155.    Plaintiff and members of the Class are also entitled to an injunction against

Defendants, preventing and restraining the violations alleged above, under §16 of the Clayton

Act.




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                                SECOND CLAIM FOR RELIEF

                                      (Breach of Contract)

        156.    Plaintiff hereby incorporates each preceding and succeeding paragraph as though

fully set forth herein.

        157.    Plaintiff and other members of the Class entered into remarketing agreements

with Defendants whereby Defendants agreed to reset and remarket Plaintiff’s and the Class’

VRDOs to obtain the lowest possible interest rate. The terms of these remarketing agreements

contain virtually identical language requiring each Defendant to remarket and reset the interest

rates for VRDOs in substantially the same manner.

        158.    Plaintiff and other Class members complied with all of their obligations under the

agreements. Defendants, on the other hand, breached their obligations as RMAs to reset VRDOs

at the lowest possible rate that would permit the bonds to trade at par, and to actively remarket

the VRDOs at the lowest possible rate.

        159.    As a result of Defendants’ breaches of their remarketing agreements, Plaintiff and

Class members suffered economic losses and damages in an amount to be determined at trial,

and are entitled to be placed in the same situations as if Defendants had fully performed under

the remarketing agreements.

        160.    Plaintiff and Class members have incurred reasonable out-of-pocket expenses,

including legal and expert fees, to enforce and protect their rights under their agreements with

Defendants.

                                 THIRD CLAIM FOR RELIEF

                                      (Unjust Enrichment)

        161.    Plaintiff hereby incorporates each preceding and succeeding paragraph as though

fully set forth herein.


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       162.    Defendants were unjustly enriched at the expense of and to the detriment of

Plaintiff and members of the Class. As described above, Defendants knowingly acted in an

unfair, unconscionable, and oppressive manner towards Plaintiff and members of the Class by

conspiring to maintain artificially high VRDO interest rates, in conscious and/or reckless

disregard for Class members’ rights.

       163.    Defendants were unjustly enriched at the expense of the Plaintiff and members of

the Class when they paid Defendants more than they otherwise would have for remarketing

services that Defendants never performed. Defendants were also unjustly enriched at the

expense of the Plaintiff and members of the Class from the fees they collected pursuant to letters

of credit designed to protect investors in the event the RMA is unable to find new investors for

tendered bonds, in which case the obligation to purchase the tendered bond falls on the letter of

credit provider. Defendants’ conspiracy to keep interest rates artificially high ensured that only

relatively few investors would tender bonds to RMAs, and thus effectively eliminating the very

risk that letter of credit fees were intended to mitigate. As a result, Plaintiff and members of the

Class paid letter of credit fees for services that Defendants never provided.

       164.    Plaintiff and members of the Class have no adequate remedy at law for these

misappropriated gains. The Court should issue a constructive trust compelling Defendants to

disgorge to Plaintiff and members of the Class all unlawful or inequitable proceeds Defendants

received, and all funds Defendants unjustly retained that should have been paid to Plaintiff and

members of the Class. Plaintiff and members of the Class are also entitled to rescission of the

transactions or rescissory damages.

       165.    Plaintiff and members of the Class seek restoration of the monies of which they

were unfairly and improperly deprived, as described herein.




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                                     PRAYER FOR RELIEF

         166.   WHEREFORE, Plaintiff, on behalf of themselves and the proposed Class of

similarly situated entities, respectfully request that the Court:

                (a)     Determine that this action may be maintained as a class action pursuant to

Federal Rule of Civil Procedure 23(a) and (b)(3), direct that reasonable notice of this action, as

provided by Federal Rule of Civil Procedure 23(c)(2), be given to the Class, and declare Plaintiff

as the representative of the Class, and that Plaintiff’s counsel be appointed as counsel for the

Class;

                (b)     Adjudge and decree that the unlawful conduct alleged herein violates §1

of the Sherman Antitrust Act, 15 U.S.C. §1;

                (c)     Permanently enjoin and restrain Defendants from continuing and

maintaining the conspiracy alleged in the Complaint under Section 16 of the Clayton Antitrust

Act, 15 U.S.C. §26;

                (d)     Award Plaintiff and the Class damages against Defendants for their

violations of federal antitrust laws, in an amount to be trebled under Section 4 of the Clayton

Antitrust Act, 15 U.S.C. §15, plus interest;

                (e)     Award reasonable attorneys’ fees and costs;

                (f)     Award all available pre-judgment and post-judgment interest, to the fullest

extent available under law or equity from the date of service of the initial complaint in this action;

                (g)     Award Plaintiff and the Class damages against the Defendants for their

breaches of contract;

                (h)     Decree that Defendants have been unjustly enriched by their wrongful

conduct and award restitution to Plaintiff and the Class;

                (i)     Direct such further relief it may deem just and proper.


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                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a jury

trial as to all issues triable by a jury.

DATED: New York, New York
       February 20, 2019


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